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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Travis Nolan
                                        Plaintiff,
v.                                                        Case No.: 1:18−cv−01940
                                                          Honorable Manish S. Shah
Deville Asset Management, Ltd.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 8, 2018:


        MINUTE entry before the Honorable Manish S. Shah: Status hearing held. Motion
by Defendant Deville Asset Management, Ltd. to stay proceedings [20] is granted. This
case is now stayed. A status hearing is set for 5/14/19 at 9:30 a.m. Notices mailed. (psm, )




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